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12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
17                                          )
            Plaintiff,                      )   MS. HOLMES’ MOTION TO EXCLUDE
18                                          )   EVIDENCE OF CMS SURVEY FINDINGS AND
       v.
                                            )   SANCTIONS PURSUANT TO RULES 401-403
19                                          )   AND 801-803
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                )
                                            )   Date: January 22, 2021
21          Defendants.                     )   Time: 10:00 AM
                                            )   CTRM: 4, 5th Floor
22                                          )
                                            )   Hon. Edward J. Davila
23                                          )
24                                          )

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     SANCTIONS PURSUANT TO RULES 401-403 AND 801-803
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 1      MOTION TO EXCLUDE EVIDENCE OF CMS SURVEY FINDINGS AND SANCTIONS

 2          PLEASE TAKE NOTICE that on January 22, 2021, at 10:00 a.m., or on such other date and time

 3 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 4 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 5 respectfully move the Court pursuant to Rules 401-403 and 801-803 of the Federal Rules of Evidence

 6 for an order precluding the government from introducing at trial evidence relating to the survey findings

 7 and sanctions by the Centers for Medicare & Medicaid Services. The Motion is based on the below

 8 Memorandum of Points and Authorities, the record in this case, and any other matters that the Court

 9 deems appropriate.
10

11 DATED: November 20, 2020

12

13                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
14                                                      LANCE WADE
                                                        AMY MASON SAHARIA
15                                                      KATHERINE TREFZ
                                                        Attorneys for Elizabeth Holmes
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          Defendant Elizabeth Holmes moves, pursuant to Federal Rules of Evidence 401-403 and 801-

 3 803, to exclude evidence relating to the findings of surveys of Theranos’ clinical laboratories conducted

 4 by the Centers for Medicare & Medicaid Services’ (“CMS”) in 2015 and 2016, including the survey

 5 reports and sanctions imposed by CMS. CMS inspectors cited Theranos’ laboratories for violations of

 6 federal regulations governing clinical lab practices, as documented in the CMS survey reports. The

 7 inspectors, by their own admission, did not seek to determine whether Theranos’ tests were accurate and

 8 reliable. The government could have pursued a criminal charge of intentional violation of the lab

 9 regulations cited by CMS if it believed the evidence supported such a charge. It did not. Instead it
10 charged wire fraud. Evidence that Theranos was accused of violating federal regulations is irrelevant to

11 the government’s wire-fraud charges, as it does not tend to prove that Ms. Holmes knowingly misled

12 investors about the capabilities of Theranos’ proprietary testing technology or patients about the

13 accuracy and reliability of Theranos tests. The evidence is also highly prejudicial and confusing.

14 Finally, the survey reports and other documents purporting to identify violations by Theranos’

15 laboratory are inadmissible hearsay. The evidence should be excluded.

16                                              BACKGROUND

17 I.       Regulatory Background

18          Under the Clinical Laboratory Improvement Amendments of 1988 (“CLIA”), 42 U.S.C. § 263a,

19 all laboratories that perform clinical diagnostic testing on human samples must be certified under and,

20 maintain compliance with, the regulations and conditions of certification as set forth by the Secretary of

21 Health. See 42 C.F.R. §§ 493.2(d)(5), 493.5, 493.20. A laboratory’s failure to comply with just one

22 applicable condition may be grounds for suspension or revocation of its CLIA certificate. Id.

23 § 493.1806.

24          Laboratories such as Theranos were required to meet the requirements specified in §§ 493.1230

25 through 493.1256, § 493.1269, and §§ 493.1281 through 493.1299. See id. § 493.1215. These

26 requirements run the gamut: laboratories must ensure all written complaints and problems are
27 documented, id. § 493.1233; have up-to-date written policies and procedures, id. § 493.1235; and ensure

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 1 proper storage of “test systems, equipment, instruments, reagents, materials and supplies” consistent

 2 with the manufacturer’s instructions, id. § 493.1252. There are also conditions that govern laboratory

 3 personnel. See id. §§ 493.1441, 493.1447, 493.1487.

 4          CMS audits laboratories to identify non-compliance with CLIA’s mandates. The available

 5 sanctions vary depending on the deficiency’s severity and on whether CMS inspectors deem it poses

 6 immediate jeopardy to public health. See id. §§ 493.1812, 493.1814, 493.1816. In some cases, CMS

 7 may revoke the laboratory’s ability to receive Medicare payment for its services; suspend, limit, or

 8 revoke the laboratory’s CLIA certificate; impose a plan of correction; or impose civil monetary

 9 penalties. Id. §§ 493.1806, 493.1807, 493.1812, 493.1814. A laboratory has the right to appeal CMS’s
10 imposition of sanctions first to an administrative law judge within CMS and then to an agency appeals

11 board. Id. § 493.1844. Upon a final agency action, the laboratory may seek judicial review. Id.

12          Criminal sanctions are available if “an individual . . . is convicted of intentionally violating any

13 CLIA requirement.” Id. § 493.1806.

14 II.      Factual Background

15          On January 25, 2016, CMS issued a letter and a Form 2567 (collectively “January 2016 CMS

16 Report”) to Theranos summarizing its findings from its recent survey of Theranos’ Newark, California

17 laboratory. Ex. 12 (THPFM0002240153). The January 2016 CMS Report resulted from a

18 recertification and complaint survey of the lab conducted by CMS in September and November 2015.

19 Ex. 34 at 2-3 (US-REPORTS-0006781). Generally, “re-certification surveys are conducted by a state

20 agency.” Id. at 3. A state agency was scheduled to conduct the survey of Theranos’ Newark laboratory,

21 but CMS decided to do so instead “due to the media attention Theranos was receiving at the time and

22 due to the complaints CMS had received about Theranos.” Id. at 2.1 It was unusual for CMS both to

23 conduct the survey and to send “central office personnel . . . out on the Theranos survey.” Id. at 3.

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27         A CMS witness told the government that CMS was in contact with Wall Street Journal reporter
   John Carreyrou about Theranos. Ex. 34 at. 3.
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 1          In its January 2016 Report, CMS asserted that Theranos’ California laboratory was in violation

 2 of various CLIA requirements. Ex. 12 at 1-2. CMS warned Theranos that if it did not remediate these

 3 deficiencies within 10 days, CMS would impose sanctions. Id. at 2.

 4          Theranos and CMS then engaged in further communications, during which Theranos outlined the

 5 steps it was taking to resolve CMS’s claimed deficiencies. See Ex. 27 at 2 (THER-0534700).

 6 Nevertheless, on July 7, 2016, CMS imposed the threatened sanctions. Ex. 30 (THPFM0004806442).

 7 Theranos appealed the sanctions to an administrative law judge; Theranos and CMS later settled the

 8 appeal before adjudication.2

 9          Soon after the imposition of sanctions on Theranos’ Newark laboratory, the same CMS

10 employees surveyed Theranos’ Arizona laboratory. Ex. 33 (CMS2022128); Ex. 31 at 188:13-20 (Jan.

11 28, 2020 Bennet Dep.) CMS cited the Arizona laboratory for various CLIA violations, Ex. 33, and

12 ultimately imposed sanctions, Ex. 32 (CMS3-000671). Theranos later settled its challenge to these

13 sanctions as part of a global settlement with CMS before the adjudication of its challenge by an

14 administrative law judge.

15          The government intends to use CMS’s deficiency findings and Theranos’ subsequent

16 correspondence with CMS about those findings to support its allegation that “Theranos’ technology was

17 . . . not capable of producing accurate and reliable results.” Ex. 3 at 67-68 (Sept. 28, 2020 Gov’t Supp.

18 Rule 404(b) Notice). Category 14 of the government’s Rule 404(b) notice is replete with references to

19 the CMS inspections; CMS’s survey findings; and Theranos’ responses and correspondence with CMS.

20 Id. at 66-67. Additionally, the government has identified the CMS employees who conducted the

21 California and Arizona laboratory surveys on its witness list, and the government’s hematology expert

22 relies on the CMS findings as the sole basis for his opinion about Theranos’ Vitamin D assay.

23                                                ARGUMENT

24          CMS’s findings that Theranos had violated CLIA regulations are irrelevant to the allegations

25 against Ms. Holmes. The government has not charged Ms. Holmes with operating a laboratory that

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            2
27         Ms. Holmes is separately moving to exclude evidence relating to the settlement and the
   remedial measures that Theranos voluntarily adopted in response to the CMS survey findings.
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 1 failed to comply with CLIA regulations. As relevant here, it has charged her with allegedly

 2 misrepresenting that Theranos was capable of producing accurate and reliable test results. CMS did not

 3 assess whether Theranos was capable of producing accurate and reliable test results, let alone pass

 4 judgment on the accuracy or reliability of Theranos’ test results. Its findings thus do not advance the

 5 government’s case. Even if they were marginally probative, the prejudicial nature of seemingly

 6 authoritative government findings of noncompliance would swamp any probative value. Finally, the

 7 CMS survey reports and other documents reporting the CMS findings are inadmissible hearsay.

 8 I.       Evidence of CMS Survey Findings and Sanctions Is Inadmissible Under Rules 401-403

 9          Evidence is relevant if “(a) it has any tendency to make a fact more or less probable than it

10 would be without the evidence; and (b) the fact is of consequence in determining the action.” Fed. R.

11 Evid. 401. If evidence does not pass this standard, it is inadmissible. Fed. R. Evid. 402. Even if

12 evidence has some relevance, it may still be excluded “if its probative value is substantially outweighed

13 by a danger of . . . unfair prejudice, confusing the issues, [or] misleading the jury.” Fed. R. Evid. 403.

14 Evidence is unfairly prejudicial when it has “an undue tendency to suggest decision on an improper

15 basis, commonly, though not necessarily, an emotional one.” United States v. Pac. Gas & Elec. Co.,

16 (PGE) 178 F. Supp. 3d 927, 941 (N.D. Cal. 2016) (quoting Old Chief v. United States, 519 U.S. 172,

17 180 (1997)).

18          A.      The CMS Survey Findings and Sanctions Are Irrelevant

19          CMS’s survey findings and the sanctions it imposed as a result of those findings are irrelevant to

20 the wire-fraud allegations in this case. The Indictment alleges that Ms. Holmes represented to investors,

21 doctors, and patients that Theranos could provide accurate and reliable blood tests despite allegedly

22 knowing that “Theranos’s proprietary analyzer had accuracy and reliability problems” and “was, in fact,

23 not capable of consistently producing accurate and reliable results.” Third Superseding Indictment, ECF

24 No. 469, ¶¶ 12(A), 16. The CMS survey findings, critically, do not assess accuracy and reliability of

25 Theranos technology. One CMS inspector has explained that the purpose of the CMS inspections was

26 only to evaluate whether the laboratory was compliant with federal regulations, and not to determine if
27 Theranos’ tests were accurate. Ex. 31 at 185: 16-22 (“[I]t’s not [CMS’s] job to determine whether a

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 1 result is accurate.”). Notably, many of the deficiencies asserted by CMS did not concern Theranos’

 2 technology at all, but instead relate to lab personnel issues. Ex. 12 at 1-2; see id. at 93 (citing failures

 3 for not having updated training records for 31 lab workers). Whether lab directors or personnel had the

 4 correct qualifications does not bear on the capabilities of Theranos technology. Other cited deficiencies

 5 concerned regulations regarding lab operational practices and procedures. For example, CMS claimed

 6 that Theranos did not have “written policies and procedures detailing [its] patient specimen labeling

 7 policy,” id. at 9; and did not have procedure manuals signed, dated, and approved by the laboratory

 8 director prior to use, id. at 12. None of that suggests that Theranos technology was not consistently

 9 capable of producing accurate and reliable test results. In fact, a CMS inspector confirmed that CMS
10 commonly cites these deficiencies at laboratories. Ex. 31 at 98:16-22 3

11          More fundamentally, CMS assessed only whether Theranos was following its own procedures as

12 laid out in its manuals. Ex. 34 at 4-5. As one CMS inspector explained, CMS only “looks at a

13 laboratory’s procedures,” such as its own training, documentation, or quality control procedures, and

14 “looks to see that they are running them when they say they are supposed to be running them.” Id. Its

15 findings thus are framed in terms of failure to follow corrective action policies or other procedures and

16 to document that action. See generally Ex. 12. Importantly, “CMS doesn’t look to the patient data.”

17 Ex. 34 at 4-5. CMS accordingly issued no findings regarding accuracy and reliability of any of

18 Theranos’ tests, let alone Theranos’ technology. Because the CMS survey was not designed to, and did

19 not, assess accuracy and reliability of a laboratory’s tests, it is not probative of a fact of consequence in

20 this case and would be particularly misleading to a jury.

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22          3
               Several survey findings concerning the Prothrombin Time/International Normalized Ratio
23   (PT/INR) test cited laboratory staff for failing to use the correct mean normal prothrombin time (MNPT)
     value when calculating patient results, resulting in a “fail[ure] to ensure that the reported [INR] was
24   calculated accurately prior to reporting final patient results” for the time period 4/3/15 through 9/21/15.
     Ex. 12 at 70. Because Theranos used FDA-approved, commercially available devices and reagents for
25   its PT/INR test, this computational error unique to the PT/INR test does not reflect any underlying
     technological or operational issues with Theranos’ proprietary devices or other FDA-approved devices
26   or tests in the CLIA lab. Even with respect to PT/INR, CMS’ findings did not include a determination
     that patient test results necessarily were inaccurate. See Ex. 31 at 185:1-22 (describing PT/INR results
27   based on her calculations as “different” than those reported by Theranos but emphasizing that “[i]t’s
     “not [CMS’] job to determine whether a result is accurate”).
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 1          United States v. Pacific Gas & Elec. Co., 178 F. Supp. 3d 927 (N.D. Cal. 2016), considered

 2 similar issues in determining whether a report by the NTSB was admissible in an action against PG&E

 3 alleging knowing and willing violations of federal safety regulations. The court held that the probative

 4 value of the report’s conclusion that “PG&E’s Integrity Management program was both deficient and

 5 ineffective, and was a probable cause of the accident,” was minimal “because the ultimate issue of the

 6 NTSB investigation—the cause of the San Bruno explosion—is not at issue in this case.” Id. at 947-48.

 7 Similarly, here, the “ultimate issue” of the CMS surveys—whether Theranos’ lab practices were in

 8 compliance with CMS regulations—“is not at issue in this case.” CMS did not investigate the real

 9 issue—whether Theranos technology could produce accurate and reliable results. CMS’s findings and
10 ultimate sanctions are thus irrelevant.

11          B.      The Risk of Unfair Prejudice and Jury Confusion Substantially Outweighs Any
                    Probative Value
12
            Because CMS did not investigate or issue findings on the accuracy and reliability of Theranos
13
     technology, the probative value of its findings relating to CLIA violations is, at best, minimal. Even the
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     government’s hematology expert, Dr. Master, does not opine that CMS’s findings of regulatory
15
     violations establish that Theranos’ tests were inaccurate or unreliable. Dr. Master offers only the
16
     speculative pseudo-opinion that violations of CLIA regulations had the potential to render Theranos
17
     tests’ inaccurate and unreliable. See Ex. 6 at 17 (Master Rpt.). The probative value of this evidence is
18
     marginal at best.
19
            On the other hand, the potential for unfair prejudice is great. It is likely the jury will put special
20
     weight on the assertions of a federal agency in the laboratory testing space even if those assertions are
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     not directly relevant to the issues in dispute. There is a significant risk that the jury will assume that
22
     Theranos, and Ms. Holmes by extension, was deserving of punishment since CMS, an authoritative
23
     government agency, cited it for deficiencies and eventually imposed sanctions.
24
            Additionally, the jury might improperly equate CMS’s findings with the government’s allegation
25
     that Theranos technology was not capable of producing accurate and reliable results. But, as a CMS
26
     witness explained, CMS specifically does not reach that ultimate conclusion: “we only need to
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 1 determine if there was potential or the likelihood [that a laboratory practice] has caused or could have

 2 caused harm to a patient.” Ex. 31 at 135:16-22; 149 (emphasis added); see also 42 C.F.R. § 493.2.

 3 Accordingly, at best CMS’s findings show only that “[t]here was a potential because of the

 4 noncompliance to have issues with the results.” Id. at 179:21-24 (emphasis added). At bottom, as one

 5 CMS witness explained, “it’s not CMS’ job” to “decide if any patients have been affected” by the issues

 6 cited in its findings. Ex. 34 at 7. The risk that the jury will draw unwarranted inferences from this

 7 evidence is substantial and highly prejudicial.

 8          For these reasons, “admitting the [agency’s] conclusions [would] invite[] the jury to improperly

 9 substitute the [agency’s] findings—under a different standard and for a different purpose—for its own
10 findings about” the charges in this case. PG&E, 178 F. Supp. 3d at 947–48. There is “a substantial risk

11 that the jury would ‘punish’ [Ms. Holmes] on the basis of [CMS’s] conclusion” about CLIA violations,

12 which is precisely the sort of improper basis that renders evidence unfairly prejudicial. Id. (citing Old

13 Chief, 519 U.S. at 180); see also Angelo v. Bacharach Instrument Co., 555 F.2d 1164, 1176 (3d Cir.

14 1977) (affirming exclusion of EEOC report under Rule 403).

15          The subjective nature of CMS’s survey findings only amplifies the prejudice of admitting the

16 findings. As one CMS witness explained, there is no standard for the “particular amount of evidence

17 required under CLIA to make a condition-level finding.” Ex. 31 at 33:1-10. According to the witness,

18 CMS surveyors may “have differences of opinion about . . . whether [a deficiency] should be cited as a

19 standard or condition.” Id. at 167:11-16. It would be highly improper for the jury to substitute the

20 subjective findings of particular CMS surveyors (which were never affirmed on appeal) regarding

21 Theranos’ compliance with CLIA violations for the jury’s findings on the actual issues in this case.

22          The CMS survey findings of non-compliance with CLIA regulations also fail to demonstrate Ms.

23 Holmes’ knowledge of any such deficiencies before they were cited by CMS. This is because, as one

24 CMS witness explained, “[w]hether or not the lab director [or owners of the laboratory] knew about the

25 deficient practice does not enter into the determination of whether condition-level noncompliance

26 exists.” Ex. 31 at 36:14-25; 37:2-8. The imprimatur of authority inherent in a federal government
27 agency’s report of violations could cause the jury impermissibly to infer that Ms. Holmes knew about, or

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 1 even caused, the cited deficiencies. The risk that the jury will reach conclusions about Ms. Holmes’

 2 knowledge and intent about the deficiencies cited by CMS—which are not even at issue in this case—is

 3 serious. The even greater risk that the jury may infer knowledge and intent by Ms. Holmes from the

 4 uncharged CMS findings in relation to the actual wire-fraud charges regarding the accuracy and

 5 reliability of Theranos tests is intolerable and unfairly prejudicial.

 6          Because any probative value of the findings and associated sanctions is substantially outweighed

 7 by the risk of unfair prejudice and jury confusion, the CMS findings and sanctions should be excluded

 8 under Rule 403.

 9 II.      The CMS Reports and Other Documentation of CMS’s Findings Are Inadmissible Hearsay

10          Even if this evidence were otherwise admissible, the CMS reports and other documentation of

11 CMS’s findings must be excluded as hearsay. Under Federal Rules of Evidence 801 and 802, an out-of-

12 court statement offered for the truth of the matter asserted is inadmissible unless it falls within a hearsay

13 exception. The CMS reports are public records, and the Ninth Circuit has held that “[w]hen public

14 records are used against a defendant in a criminal prosecution, the public records exception is the

15 exclusive applicable hearsay exception.” United States v. Orellana-Blanco, 294 F.3d 1143, 1149 (9th

16 Cir. 2002). This is because Rule 803(8), governing public records, “speaks directly to public records

17 and carefully delineates the distinction between criminal and civil proceedings in order to protect a

18 defendant’s rights under the confrontation clause.” Orellana-Blanco, 294 F.3d at 1149; see also United

19 States v. Orozco, 590 F.2d 789 (9th Cir. 1979) (“While governmental functions could be included within

20 the broad definition of ‘business’ in rule 803(6), such a result is obviated by rule 803(8)”)

21          The CMS reports contain “factual findings from legally authorized investigations” and thus are

22 governed by Rule 803 (8)(a)(iii) As relevant here, public records that contain factual findings from

23 legally authorized investigations are admissible “in a civil case or against the government in a criminal

24 case.” Fed. R. Evid. 803(8)(a)(iii) (emphasis added). Accordingly, under Rule 803(8), reports of public

25 agencies setting forth factual findings from legally authorized investigations are inadmissible against a

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 1 criminal defendant. Id.; United States v. Sims, 617 F.2d 1371, 1377 (9th Cir. 1980); Fed. R. Evid.

 2 803(8)(C) advisory committee’s note.4

 3          In this case, Rule 803(8) bars admission of the CMS survey reports and other CMS records

 4 documenting its survey findings. As just explained, when the public record at issue is an evaluative

 5 report by a public agency, the report is only admissible in a criminal case if offered against the

 6 government. The CMS reports were prepared by a government agency and contain factual findings

 7 from legally authorized investigations. The reports were based on surveys conducted by CMS, a federal

 8 agency, and the purpose of the surveys was to determine whether the laboratory was in compliance with

 9 CLIA requirements as delineated in 42 C.F.R. § 493.1215 and in response to a complaint received about
10 the lab. Ex. 12 at 1; Ex. 34 at 2. The reports expressly state that the surveyors conducted the survey

11 pursuant to a legally authorized investigation: “[f]ederal regulations require onsite surveys to determine

12 whether or not a laboratory is in compliance with the applicable regulations.” E.g., Ex. 12 at 1. The

13 reports contain findings from the surveys: each cited deficiency provides a “Findings Include” section

14 that details CMS’s findings. See, e.g., id. at 52. Accordingly, the government may not introduce the

15 reports against Ms. Holmes.

16          No exception to Rule 803(8) applies here. The Ninth Circuit has held that public records that

17 relate to “routine, nonadversarial matters made in a nonadversarial setting, reflecting ministerial,

18 objective observations,” may be admitted against a criminal defendant. Orellana-Blanco, 294 F.3d at

19 1150. The exception, however, is inapplicable to public records generated by agencies or law

20 enforcement that contain “subjective observations, summaries, opinions and conclusions.” Id. For

21 example, in Orozco, the Ninth Circuit held that Rule 803(8) did not bar admission against a criminal

22 defendant of a Treasury Enforcement Communications System data report that captured the license

23 plates of vehicles crossing the border, because the report simply recorded license plate numbers of all

24 cars that passed by and therefore concerned routine, nonadversarial matters. 590 F.2d at 793. By

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            The current Rule 803(8)(A)(iii) is functionally equivalent to the provision formerly styled as
27 Rule 803(8)(C),  which applied to “factual findings resulting from an investigation made pursuant to
   authority granted by law.” Nipper v. Snipes, 7 F.3d 415, 417 (4th Cir. 1993).
28 MS. HOLMES’ MOTION TO EXCLUDE EVIDENCE OF CMS SURVEY FINDINGS AND
   SANCTIONS PURSUANT TO RULES 401-403 AND 801-803
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 1 contrast, in Orellana-Blanc, the Ninth Circuit held that the public-records exception barred admission of

 2 an immigration form generated after agency personnel interviewed the defendant because the report

 3 contained a subjective recordation of the preparer’s observations and the government offered the report

 4 to show that the charged crime had been committed. 294 F.3d at 1150. Because the report was not

 5 based on routine non-adversarial matters, the admission of the report was reversible error. Id.

 6          In this case, there was nothing “routine” or “ministerial” about the investigations that led to the

 7 CMS findings. CMS personnel were substituted for the state officials who were initially scheduled to

 8 inspect the Theranos lab. Ex. 34 at 2. CMS took the “unusual” step of sending central office personnel

 9 to conduct the survey. Id. Critically, the CMS findings were based on the same types of subjective
10 observations, summaries, and opinions at issue in Orellana-Blanco. A CMS witness explained that the

11 standard for a deficiency-level finding is entirely up to whoever is surveying the lab. The surveyor

12 explained that “once there’s a determination of non-compliance, you have to use your professional

13 surveyor judgment to determine what evidence you need to support that noncompliance and there’s no

14 standard set . . . it’s very situational.” Ex. 31 at 157. The findings in a CLIA survey can vary from

15 surveyor to surveyor, and surveyors may “have differences of opinion about . . . whether it should be

16 cited as a standard or condition.” Id. at 167:16-22. These subjective determinations are nothing like the

17 routine matter of recording by rote all license plate numbers that cross the border in Orozco.

18          Even if the CMS documents are themselves admissible as agency records, the reports themselves

19 contain out-of-court statements of Theranos personnel presented for the truth of the matter asserted.

20 See, e.g., Ex. 12 at 7 (“The QC/QA Manager confirmed on 11/18/15 that an investigation was not done

21 or documented.”). The government cannot admit such statements for the truth of the matter asserted.

22 Nor can CMS witnesses testify about such out-of-court statements. See United States v. Morales, 720

23 F.3d 1194, 1202 (9th Cir. 2013) (“In general, statements by third parties who are not government

24 employees (or otherwise under a legal duty to report) may not be admitted pursuant to the public records

25 exception but must satisfy some other exception in order to be admitted.”).

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28 MS. HOLMES’ MOTION TO EXCLUDE EVIDENCE OF CMS SURVEY FINDINGS AND
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 1                                             CONCLUSION

 2         For the foregoing reasons, Ms. Holmes respectfully requests an order precluding evidence

 3 relating to the CMS survey findings and sanctions, including but not limited to the CMS survey reports,

 4 Theranos’ written responses to the survey reports, and other CMS documentation of its findings.

 5

 6 DATED: November 20, 2020                            Respectfully submitted,

 7

 8                                                     /s/ Amy Mason Saharia
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28 MS. HOLMES’ MOTION TO EXCLUDE EVIDENCE OF CMS SURVEY FINDINGS AND
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           Case 5:18-cr-00258-EJD Document 574 Filed 11/20/20 Page 16 of 16




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on November 20, 2020 a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5
                                                       /s/ Amy Mason Saharia
 6                                                     AMY MASON SAHARIA
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